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JOHN W. HUBER, United States Attorney (#7226)                        U .
LESLIE A. GOEMAAT, Special Assistant United States Attorney (MA #676695)
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RICHARD M. ROLWING, Spec~al Ass~stant U~ted States Attorney (OH #OQ~BfJ~ftt 2!.J I A JI:
ARTHUR J. EWENCZYK, Special Assistant United States Attorney (NY #5263785)                       · 32
JOHN E. SULLIVAN, Senior Litigation Counsel, Tax Division (WI #1018849j)fSTRICT CF UTl\ii .
Attorneys for the United States of America                           By:
111 South Main Street, #1800                                             Bf Pfrrv'1 c'r i~:-·-·¥•-..,~
                                                                                             1
Salt Lake City, Utah 84111                                                           ,, ,_ -- ' K
Telephone: (801) 524-5682
Email: leslie.a.goemaat@usdoj.gov
       richard.m.rolwing@usdoj.gov
       arthur.j.ewenczyk@usdoj.gov
       john.e.sullivan@usdoj.gov
                                                                                      sEALED
                            IN THE UNITED STATES DISTRICT COURT

                             DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                     Case No. l 8-CR~365-JP

                          Plaintiff,

        v.
                                                              GOVERNMENT'S MOTION FOR
JACOB ORTELL KINGSTON,                                        DETENTION FOR JACOB ORTELL
ISAIAH ELDEN KINGSTON, and                                    KINGSTON AND ISAIAH ELDEN
LEV ASLAN DERMEN,                                             KINGSTON
  a/k/a Levon Termendzhyan,

                          Defendants.

                                                               District Judge Jill Parish
                                                               Magistrate Judge Brooke Wells


        Based on evidence developed during the course of the investigation, the United States

submits that Defendants Jacob Kingston 1 and Isaiah Kingston present a flight risk, will attempt

to obstruct justice, and pose a danger to the community. The United States therefore moves the

1
 The United States submits that Defendant Lev Aslan Dermen a.k.a. Levon Termendzhyan also poses a flight risk
and a danger to the community and seeks his pre-trial detention. Defendant Dermen has been arrested in Los
Angeles, California and it is the understanding of the United States that be will appear in the Central District of
California prior to appearing in the District of Utah.


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Court to detain Defendants Jacob Kingston and Isaiah Kingston pending trial as outlined herein.

   L.      LEGA!i STAN;Qt\RD AND BURDEN OF PROOF
        When a case involves a serious risk that a defendant will flee or attempt to obstruct

justice, the Bail Reform Act of 1984 provides that "a judicial officer shall hold a hearing to

determine whether any condition of or combination of conditions ... will reasonably assure the

appearance of the person as required and the safety of any other person and the community." 18

U.S.C. § 3142(f)(2). If after a hearing, the Court ''finds that no conditions will reasonably assure

the appearance of the person as required and the safety of any other person and the community,

such judicial officer shall order the detention of the person before trial." 18 U.S.C. § 3142(e)(l).

In determining whether there are no conditions that will reasonably assure the defendant's

appearance, the judicial officer shall "take into account the available information concerning-

(1) the nature and circumstance of the offense charge ... ; (2) the weight of the evidence against

the person; (3) the history and characteristics of the person ... ; and (4) the nature and seriousness

of the danger to any person or the community ~at would be posed by the person;s release .... " 18

u.s.c. § 3142(g).
        The United States must prove a serious risk of flight by a "preponderance of the

evidence." United States v. Cisneros, 328 F.3d 610, 613 (10th Cir. 2003) (sustaining the district

court's determination that "the government had proved by a preponderance of the evidence that

Cisneros posed a serious risk of flight such that no conditions of release would reasonably assure

Cisnero's presence at trial."). The United States must prove danger to the community by "clear

and convincing evidence." 18 U.S.C. § 3142(f).

        "The rules concerning admissibi~ity of evidence in criminal trials do not apply to the

presentation and consideration of information at the detention hearing." 18 U.S.C. § 3142(f).

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Consequently, the government may proceed by proffer. United States v. Smith, 79 F.3d 1208,

1210 (D.C. Cir. 1996) ("Every circuit to have considered the matter ... [has] permitted the

Government to proceed by way of proffer.") (citing.United States v. Gaviria, 828 F.2d 667, 669

(11th Cir. 1987); United States v. Martir, 782 F.2d 1141, 1145 (2d Cir. 1986); United States v.

Winsor, 785 F.2d 755, 756 (9th Cir. 1986); United States v. Acevedo~Ramos, 755 F.2d 203, 206-

07 (1st Cir. 1985)). The rationale for permitting detention hearings to proceed by way of proffer

is that such hearings are "neither a discovery device for the defense nor a trial on the merits."

Smith, 79 F.3d at 1210. "The process that is due is only that which is required by and

proportionate to the purpose of the proceeding." Id. "That purpose includes neither a reprise of

all the evidence presented before the grand jury, United States v. Suppa, 799 F.2d 115, 119 (3d

Cir. 1986), nor the right to confront non~testifying government witnesses, United States v.

Accetturo, 783 F.2d 382, 388-89 (3d Cir. 1986)." Smith, 79 F.3d at 1210 (also citing United

States v. Hurtado, 779 F.2d 1467, 1479 (11th Cir. 1985)(purpose of pretrial detention hearing is

not to "rehash ... probable cause" but to provide opportunity for detainee to show no risk of

flight or danger to community); United States v. Williams, 798 F. Supp. 34, 36 (D.D.C. 1992)).

"A right to require the government to produce its witnesses against [a defendant] would

complicate the hearing to a degree out of proportion to the liberty interest at stake - viz. the

interest in remaining free until trial, for what is by statute a period of limited duration." Smith, 79

F.3d at 1210; see also Speedy Trial Act, 18 U.S.C. § 3161, et seq.

    IL.      FACTUAL BA(;KGROUND AND VIONATIONS
             a. Violations

          On August 1, 2018, a grand jury returned an indictment charging Defendant Jacob

Kingston with nine counts of aiding and abetting the filing of a false tax return in violation of 26

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U.S.C. § 7206(2), five counts of concealment money laundering in violation of 18 U.S.C.

§ 1956(a)(l)(B)(i), and one count of expenditure money laundering in violation of 18 U.S.C.

§ 1957, and charging Defendant Isaiah Kingston with one count of concealment money

laundering in violation of 18 U.S.C. § 1956(a)(l)(B)(i), and one count of expenditure money

laundering in violation of 18 U.S.C. § 1957. If convicted of the charges in this Indictment,

Defendant Jacob Kingston faces a maximum penalty of 87 years in prison. If convicted of the

charges in this Indictment, Defendant Isaiah Kingston faces a maximum penalty of 20 years in

prison.

          Defendants Jacob Kingston and Isaiah Kingston are the CEO and CFO and are each 50%

owners of Washakie Renewable Energy (WRE) and United Fuel Supply (UFS). Defendants

Jacob Kingston and Isaiah Kingston schemed with each other and with others, including

Defendant Lev Asian Dermen, to defraud the United States by obtaining $511 million in

refundable fuel tax credits, to which WRE was not entitled, as alleged in paragraphs 14 through

17 of the Indictment. As part of this wide-ranging scheme, involving individuals and companies

across the country and outside of the country, the defendants created false paperwork and

accounting records. They also rotated fuel and other products by truck, train, and barge,      ·

throughout the country and elsewhere, including Panama, to create the false appearance that

WRE was entitled to the refundable fuel tax credits it claimed. Through their companies WRE

and UPS, Defendants Jacob and Isaiah Kingston filed false IRS Fo1-ms 8849, Claim for Refund

of Excise Tax, claitning refunds of over $1.1 billion in renewable fuel tax credits. See Exhibit A

(Summary of false Forms 8849). As a result of these false claims, the U.S. Treasury paid WRE

over $511 million. Defendants Jacob Kingston, Isaiah Kingston, and Lev Asian Dermen then

laundered the proceeds of their scheme, as charged in Counts Ten through Fifteen of the

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Indictment.

           b. Potential Sentence

       The United States computes Defendant Jacob Kingston's advisory Guidelines sentence

for the conduct charged in the Indictment to be life in prison. This Guidelines range reflects the

size of the loss caused by the defendants, an intended loss of over $1.1 billion and an actual loss

of more than $511 million, and the sophisticated nature of the scheme, as well as the defendant's

efforts to destroy evidence and otherwise obstruct the execution of a lawful search warrant and to

intimidate witnesses.

        Defendant Isaiah Kingston's advisory Guidelines sentence may also be life in prison. The

United States intends to offer evidence at sentencing that Defendant Isaiah Kingston was

engaged in excess of $3 billion in money laundering transactions involving the proceeds of the

$511 mail fraud scheme as well as efforts to destroy evidence and threaten witnesses. However,

Defendant Isaiah Kingston's statutory maximum for the charged counts .is 20 years.

              c. The Order

        Defendants Jacob and Isaiah Kingston are members of the Davis ColUlty Cooperative

Society, also known as "The Order" and "The Kingston Order." According to witnesses, the

Order is comprised of at least 7,000 members. Order members reside in various cities in Utah

and surrounding states. Order members live interspersed in the communities and are not confined

to a distinct~ geographical location. The Order owns hlUldreds of businesses in Utah and the

surrounding states. Order members are bound together through ties of family, religion, and the

practice of communal living. The investigation has revealed that the Order owns a significant

number of homes and businesses. One witness told the investigation that the Order directed an

 Order family to go into hiding, first hiding the family in Colorado and then in Park City, Utah,

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when there was a Child Protective Services warrant out for a family member's arrest.

            d. Destruction of Evidence

         On February 10, 2016, the United States executed simultaneous search warrants on three

office locations ofWRE and UFS, Jacob Kingston's residence, a back-up server for WRE, and

four locations related to the Order. During the execution of the search warrants, it became

apparent that records had been removed and destroyed in anticipation of the warrants. Federal

agents found computers that had been wiped or recently replaced, empty desks; and empty

bookcases with dust outlines where binders and other documents were recently stored. Locations

that had been described by witnesses as full of records were found nearly empty. WRE and UFS

employees were moved from the main office prior to the search warrants for an alleged mold

issue.

         The investigation has not revealed how the defendants learned that the government

obtained sealed search warrants, but multiple witnesses have stated that Defendants Jacob

Kingston and Lev Aslan.Dermen talked of having law enforcement contacts willing to provide

them with information about ongoing covert investigations. One witness met with Defendant

Jacob Kingston several weeks prior to the search warrant and Defendant Jacob Kingston stated to

that witness that a federal agent tipped him off to the pending search wa1Tants.

             e. Ties to Turkey

         During the course of the mail fraud scheme, Defendants Jacob Kingston and Isaiah

Kingston, through WRE, wired over $130 million of the scheme proceeds to Turkey and used

these proceeds to make significant business investments. See Exhibit B (Summary of WRE wires

to Turkey). On September 9, 2016, the Turkish Investment Support and Promotion Agency,

which is an agency of the Turkish government, issued a press release announcing a $950 million

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investment by Washakie Renewable Enel'gy, Noil Enel'gy Group, and their partnel' and

investment manager in Turkey, SBK Holding LLC (Turkey). See Exhibit C (Press Release).

       Several witnesses interviewed during the course of this investigation told investigators

that Defendant Jacob Kingston and Isaiah Kingston stated that they would flee to Turkey if faced

with pl'osecution. One witness stated that Defendant Jacob Kingston said that if the government

moved to arrest and prosecute him, he would flee to Turkey. This witness also heard that

Defendant Jacob Kingston built a home in Turkey. Another witness told investigators that an

employee of WRE heard from Defendant Jacob Kingston's brother-in-law that Defendants Jacob

Kingston and Isaiah Kingston had just returned from a two..week trip to Turkey whel'e they

purchased a home and that Jacob Kingston and Isaiah Kingston intended to flee to Turkey with

their families if it looked like they were going to have to go to jail. The investigation uncovered a

March 5, 2014 wire from a WRE bank account to a bank account in the name of Levon

Tremendzhyan at Garanti Bank in Turkey for "VAT fol' Waterside house, (mansion)." This wire

was authorized by Defendant Isaiah Kingston.

        Another witness told investigators that Defendant Jacob Kingston's Turkish business

associate claimed that when Defendant Jacob Kingston travels to Turkey, he does not need to

enter the country with a passport because of the money and political influence of the Turkish

businessman. Further, this witness told investigators that Defendant Jacob Kingston's Turkish

business partner stated that Defendant Jacob Kingston owned a house in Turkey. Another

witness told investigators that Jacob Kingston traveled frequently to Turkey and upon returning

from Turkey once showed the witness a video of his police escort from the airport. Multiple

witnesses have stated that Defendant Jacob Kingston hired a Turkish language tutor..

        Another witness, a business associate of Defendant Jacob Kingston and Defendant Lev

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Asian Dermen, stated that Defendant Jacob Kingston wired $250 million to Turkey to purchase a

 Turkish bank. Rather than use his own name for the transaction, Defendant Kingston used the

 name of a family member of Defendant Lev Asian Dermen. This witness was shown, by a

 Turkish business associate of Defendants Jacob Kingston and Lev Asian Dermen, a bank account

 statement in the name of the family member showing a balance of $160 million euros. This

 witness also saw a Turkish bank account statement in the name of Defendant Lev Asian Dem1en,

 showing a balance of $300 million euros. This witness also stated that Defendants Jacob·

 Kingston, Lev Aslan Dermen, and a Turkish business associate intended to buy a hotel in Turkey

 for $650 million.

              f. Means to Flee

          In addition to having substantial financial assets and a home in Turkey, Defendants Jacob

 Kingston and Isaiah Kingston have access to private planes and have the means to flee the

 jurisdiction. Defendants Jacob and Isaiah Kingston's co-Defendant Lev Aslan Dermen leases a

 private plane and employs a personal pilot. Witnesses state that Defendant Jacob Kingston has

.. repeatedly traveled with co-Defendant Dermen on his private plane. Additionally, in December

 2016, SBK Holdings AS acquired BoraJet, an airline based in Turkey. See Exhibit F (photo of

 SBK plane). In August 2017, Defendant Dermen used a BoraJet plane to flee Los Angeles,

 California to Turkey on the same day that state search wan-ants were executed on his home and

 business locations. 2 Defendant Dermen returned to the United States only after all seized assets

 had been ordered to be returned.

               g. Threats to Witnesses

           Defendant Jacob Kingston and Isaiah Kingston schemed to pay an intermediary to hire an

 2
     These search wan-ants were not related to the present case or underlying investigation.

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enforcer to intimidate and harm at least two suspected cooperating witnesses. 3

       In November and December 2016, Defendant Jacob Kingston directed an intermediary by

text message to send an enforcer to Miami to intimidate a potential witness and ensure that he

would not cooperate with the government's investigation. See Exhibit D (Text messages with

Jacob Kingston). Defendant Jacob Kingston and the intermediary used secret code words to refer

to the enforcer ("OTEB"), the witness ("the Bird"), and Miami ("imaim"). Text messages

obtained by the United States show that Defendant Isaiah Kingston delivered cash bribes to the

intermediary. A selection of Exhibit D is reproduced below:

      · Intermediary: And our friend in FL has a meeting in front of you know who on Dec 5

       J. Kingston:    He needs to have his bell rung at home.

       Intermediary: OTEB is leaving at 5 am to imaim

        J. Kingston:   Ok. Pies?

       Intermediary: ??

        J. Kingston:   Of the bird

        Intermediary: I told him

        Intermediary: He is getting his own paisanos to do it

        J. Kingston:   Ok

        J. Kingston:   Any news on bird?

        Intermediary: Bird is taken care of

        J. Kingston:   How bad?

        Intermediary: Bad as in he can't make Monday's thingy thingy

3 This intermediary told investigators that he perpetrated an elaborate "cat fishing" scheme on
the Defendants and explained that he received all of the cash bribes intended for "Commissioner
Gordan" and other purported law enforcement officers and for the enforcer "OTEB."

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       J. Kingston:    He can't or won't?

       Intermediary: Won't period

        J. Kingston:   Does he know why?

       Intermediary: Dude I am pretty sure they don't give details just make it very c!ear that if

the bird sings it's very bad next time he falls will be for good

        J. Kingston:   That's a shame. :/

        Intermediary: Yes that's why they are in cages to look good and go on cruises with all

the other birds lol

            b. Attempted Bribes to Witnesses

        The investigation has revealed that Defendants Jacob and Isaiah Kingston paid bribes to

an intermediary, who told them the bribes would be used for high-ranking officials at the

Department of Justice and judges. For example, Defendant Jacob Kingston attempted to bribe an

individual, whom he believed to be a high-ranking official within the Department of Justice,·

code name "Commissioner Gordan" to destroy records in the government's possession. See
                                I


Exhibit E. Text messages in January 2017 between Defendant Jacob Kingston and the

intermediary demonstrate that Defendant Jacob Kingston was paying bribes to Commissioner

Gordan, through the intermediary, in an attempt to derail and impede the government's

investigation. Further, Defendant Jacob Kingston's text messages discuss paying the enforcer,

code name "OTEB," for the work that he had done. In the text messages, Defendant Jacob

Kingston asks the intermediary repeatedly about the status of the investigation.

        In Exhibit E, the intermediary states that Commissioner Gordon is working to have "this

erased." Defendant Jacob Kingston wrote, "I left 101b of dog food w Isaiah." Defendant Jacob

Kingston and the intermediary use code-word "dog food" to refer to money used to pay bribes.

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The intermediary replies, "Did you only leave that? lOlbs that's what was owed from the

·delivery of the birdcage plus he has to buy the dog food for the dog lover. Plus CO needs me to

take care of the UT guys." In reference to payments to OTEB and others, the intermediary states

"Isaiah knows what he needs to get right. I told these guys they will be taken care of(.]" See

Exhibit E.

        The inte1mediary and Defendant Jacob Kingston also discuss a grand jury appearance of

a witness code-named "the dog," and Defendant Jacob Kingston solicits updates on the

investigation. On November 4, 2016, Defendant Jacob Kingston texted the intermediary "Let's

 get Beto up his ass. See how he likes that,'; in reference to a witness whom he was told by the

 intermediary was providing information to a named IRS-CI agent assigned to this investigation.

             i.   Circumstances of Arrest

          On August 23, 2018, Defendant Jacob Kingston was arrested at the Sale Lake City, Utah

. airport en route to Turkey by way of Amsterdam with his wife and some of his children.

    !!L      :[LIGHT RISK
          Based on the foregoing, Defendants Jacob and Isaiah Kingston pose an immediate and

 serious risk of flight to Turkey. Defendants Jacob and Isaiah Kingston, through their jointly

 owned company WRE, have moved more than $130 million in fraud proceeds to Turkey and

 have made hundreds of millions of dollars of investments there, including the possible purchase

 of a home. Multiple witnesses have stated that Defendant Jacob and Isaiah Kingston's plan was

 to flee to Turkey to avoid arrest and prosecution in the United States. The Defendants have

 access to private jets and have significant political connections in Turkey. See Exhibit G

 (newspaper article about Jacob Kingston's meeting with President Erdogan of Turkey). Further,

 the Defendants have a significant motivation to flee in light of the Defendant Jacob Kingston's

                                                 11
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potential 87~year sentence and Defendant Isaiah Kingston's potential 20-year sentence, should

they be convicted of the charges in this indictment. Defendant Jacob Kingston was arrested at the

Salt Lake City airport en route to Turkey with his wife and some of his children.

        There are no conditions or combination of conditions that will reasonably assure

Defendants Jacob and Isaiah Kingston's appearance at trial short of detention. Because of the

Order's vast resources and real estate holdings, there are hundreds of potential Order-related

residences and businesses, both in and outside of the District of Utah, where the defendants

could hide. Further, based on the Defendants and their co-conspirator's destruction of records in

advance of the federal search warrants and Defendants Jacob and Isaiah Kingston's multiple

attempts to intimidate and injure suspected government witnesses and bribe government

officials, there is a basis to find that these Defendants will not comply with this Court's orders.

    ~       DANGER TO THE COMMUNITY

        Defendants Jacob and Isaiah Kingston pose an immediate danger to the community. The

 Defendants were alerted to the existence of search warrants on their jointly~owned business

 locations and Defendant Jacob Kingston's residence and the Defendants and their co~

 conspirators took steps to destroy and remove evidence in advance of the search warrant. In

 addition, the Defendants paid bribes for the purpose of destroying evidence and impeding the

. federal investigation and directed persons to intimidate and harm at least two possible witnesses.

        '~Protection of witnesses is fundamental to the proper administration of justice." United

 States v. Miller, No. 06-40151~JAR, 2008 WL 2783146, at *3 (D. Kan. July 15, 2008) (citing

 United States v. Gallo, 653 F.Supp. 320, 331-32 (E.D.N.Y.1986)). See also United States v.

 Jackson, No. CRIM. 93~10062~01, 1993 WL 405972, at *2 (D. Kan. Sept. 9, 1993) (affirming

 pre~trial detention where the evidence submitted at the hearing established by clear and

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convincing evidence that there was a serious risk that the defendant would threaten, injure, or

intimidate, or attempt to threaten, injure, or intimidate, a prospective witness). Recognizing this,

Section 3 l 42(f)(2)(B) gives judges the authority to deny bail where there is proof of threat to a

prospective witness. Gallo, 653 F.Supp. at 332-31 (citing 18 U.S.C. § 3142(f)(2)(B)).

        The serious risk that these Defendants will threaten, injure, or intimidate a prospective

witness is a sufficient, independent basis to detain them pending trial.

    ~      ~QNCLUSIO;ti

        Based on the foregoing, the United States submits that no conditions or combination of

conditions will reasonably assure the appearance of Defendants Jacob and Isaiah Kingston and

the safety of any other person and the community. The United States has shown by a

preponderance of the evidence that Defendants Jacob and Isaiah Kingston are a serious flight risk

due to their potential sentences in this case, their ties to Turkey, repeated statements regarding

their intention to flee to Turkey, their access to private jets, their transfer of over $130 million

from WRE to Turkey, and the fact that Defendant Kingston was en route to Turkey via

commercial airline at the time of his arrest. The United States has also established by clear and

convincing evidence that there is a serious risk that both Defendants Isaiah and Jacob Kingston

will threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective

witness based on their previous destruction of records in advance of search warrant, and the

proof of their previous attempts to pay enforcers to harm prospective witnesses.

Exhibit A-Summary of False Claims on Forms 8849
Exhibit B - Summary of WRE Wires to Turkey
Exhibit C - Press Release of WRE, NOIL, and SBK Investment in Turkey
Exhibit D - Jacob Kingston Text Messages
Exhibit E --Jacob Kingston Text Messages
Exhibit F - Photo of SBK plane
Exhibit G-Article about Jacob Kingston's Meeting with President Erdogan (translated)


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Respectfully submitted this 24th day of August, 2018.


                                     JOHN W. HUBER
                                     United States Attorney



                                    ~O,.~
                                    LESLIE A. oMMT
                                    RICHARD M. ROLWING
                                    ARTHURJ. EWENCZYK
                                    Special Assistant United States Attorneys
                                    JOHN E. SULLIVAN
                                    Special Litigation Counsel




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                                          Unhed States v. Kingston et al.
                                    Summary of False Items Claimed on Forms 8849
            Onor       Name of                 Type of Credit                   Gallons                Refundable
    Num.    About      Claimant            Claimed on Form 8849                 Reported       Rate   Credit Claimed
     1.    12/21/10     WRE       Line 2a - Biodiesel mixtures                   5,578,700 $1.00         $5,578,700
     2.    02/03/11     WRE       Line 2b - Agri-biodiesel mixtures              2,584,726 1.00           2,584,726
     3.    03/21/11     WRE       Line 2a - Biodiesel mixtures                    1,905,114 1.00           1,905,114
     4.    03/15/11     WRE       Line 3f - Liquid fuel derived from biomass      7,309,905 0.50           3,654,952
     5.    04/11/11     WRE       Line 3f - Liquid fuel derived from biomass        972,000 0.50             486,000
     6.    04/18/11     WRE       Line 2a - Biodiesel mixtures                    1,984,000 1.00           1,984,000
     7.    05/06/11     WRE       Line 2a - Biodiesel mixtures                    1,145,807 1.00           1,145,807
     8.    06/10/11     WRE       Line 2a - Biodiesel mixtures                    1,142,891 1.00           1,142,891
     9.    07/01/11     WRE       Line 3f- Liquid fuel derived from biomass       1,680,000 0.50             840,000
     10.   07/19/11     WRE       Line 2a - Biodiesel mixtures                    3,000,000 1.00           3,000,000
     11.   07/19/11     WRE       Line 3f - Liquid fuel derived from biomass      1,000,000 0.50             500,000
     12.   09/02/11     WRE       Line 2a - Biodiesel mixtures                    2,500,000 1.00           2,500,000
     13.   09/30/11     WRE       Line 2c - Renewable diesel mixtures             1,000,000 1.00           1,000,000
     14.   10/07/11     WRE       Line 2a - Biodiesel mixtures                    2,000,000 LOO            2,000,000
     15.    10/12/11    WRE       Line 2c - Renewable diesel mixtures             1,000,000 1.00           1,000,000
     16.    10/12/11    WRE       Line 2a - Biodiesel mixtures                    3,250,000 1.00           3,250,000
     17. 10/19111        WRE      Line 2a - Biodiesel mixtures                    2,000,000 1.00          ·2,000,000
     18. 10/26/11       WRE       Line 2c - Renewable diesel mixtures               522,970 1.00              522,970
     19. .11102111 ·    WRE       Line 2a - Biodiesel mixtures                      723,000 1.00             723,000
     20. 11/09/11       WRE       Line 2c - Renewable diesel mixtures             1,495,250 1.00           1,495,250
     21. 12/19/11       WRE       Line 2c - Renewable diesel mixtures             1,685,648 1.00            1,685,648
     22. 12/19/11       WRE       Line 3f. Liquid fuel derived from biomass       2,200,000 0.50            1,100,000
     23. 01/20/12       WRE       Line 3f. Liquid fuel derived from biomass       2,701,616 0.50           1,350,808
     24. 02/13/13       WRE       Line 2a • Biodiesel mixtures                    3,901,235 1.00           3,901,235
     25. 02/25/13       WRE       Line 2a. Biodiesel mixtures                       640,959 1.00              640,959
     26. 03/08/13       WRE       Line 3f • Liquid fuel derived from biomass     40,567,319 0.50          20,283,659
     27. 03/12/13       WRE       Line 2a • Biodiesel mixtures                       806,041 1.00             806,041
     28. 03/12/13       WRE       Line 3f- Liquid fuel derived from biomass       7,200,000 0.50           3,600,000
     29. 03/26/13       WRE       Line 2a • Biodiesel mixtures                    2,398,274 1.00           2,398,274
     30. 03/26/13       WRE       Line 3f - Liquid fuel derived from biomass     12,922,493 0.50           6,461,246
     31. 04/17/13       WRE       Line 3f - Liquid fuel derived from biomass     23,745,769 0.50          11,872,884
     32. 05/20/13       WRE        Line 2a • Biodiesel mixtures                  11,700,000 1.00          11,700,000
     33. 06/02/13       WRE        Line 2a • Biodiesel mixtures                  11,400,000 1.00          11,400,000
     34. 07/29/13       WRE        Line 2b - Agri-biodiesel mixtures ·           25,800,000 1.00          25,800,000
     35. 08/13/13       WRE       Line 2a - Biodiesel mixtures                   16,200,000 1.00          16,200,000
     36. 09/05/13       WRE       Line 2a • Biodiesel mixtures                   35,008,437 1.00          35,008,437
     37. 09/30/13       WRE       Line 2a - Biodiesel mixtures·                  33,465,236 1.00          33,465,236
     38. 10/20/13       WRE        Line 2a • Biodiesel mixtures                  33,581,899 1.00          33,581,899
     39. 11/17/13       WRE        Line 2a - Biodiesel mixtures                  38,078,529 1.00          38,078,529
     40. 12/09113       WRE        Line 2a • Biodiesel mixtures                  33,579,440 1.00          33,579,440
     41. 12/24/13       WRE        Line 2a • Biodiesel mixtures                  21,789,321  1.00         21,789,321
     42. 02/11/15       WRE        Line 2a • Biodiesel mixtures                 170,302,364 1.00         170,302,364
     43. 01/20/16       WRE        Line 2a • Biodiesel mixtures                 322,900,000 1.00         322,900,000
     44. 02/04/16       UFS        Line 2a • Biodiesel mixtures                 321,573,260 1.00         321,573,260



8                                               Totals                         1,216,942,203          $1,166,792,650
         Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 16 of 45



                                 WRE Wire Transfers to Turkey


 Onor        Source                                                       Country of Amount of
 About      ofFunds          Recipient/Destination per Bank Records       Destination Wire Transfer

09/09/13     WRE      KOMAK ISI YALITIM SISTAMLERI SANA YI                  Turkey      $4,000,000
09/09/13     WRE      KOMAK 1Sl YALlTlM SISTAMLERl SANAYI                   Turkey       5,000,000
11/13/13     WRE      SBK HOLDING Turkiye Garanti Bankasi                   Turkey      10,000,000
12/31/13     WRE      KOMAK ISI YALITIM SISTAMLERI SANAYI                   Turkey      13,000,000
01/14/14     WRE      DOGADOGAN                                             Turkey         100,000
01/24/14     WRE      DOGADOGAN                                             Turkey          50,000
03/12/14     WRE      GARANTI BANK BNF JACOB KINGSTON                       Tmkey       10,000,000
03/24/14     WRE      TEKNOLOil SISTEMLERI SAN VE TIC                       Turkey       4,055,700
03/24/14     WRE      TEKNOLOTI SISTEMLERI SAN VE TIC                       Turkey       5,000,000
05/09/14     WRE      TEKNOLOJI SISTEMLERI SAN VE TIC                       Turkey       2,000,000
07/22/14     WRE      DOGA DOGAN BAHCELIEVLER SUBESI                        Turkey         200,000
09/05/14     WRE      DOGA DOGAN BAHCELIEVLER SUBESI                        Turkey         100,000
04/28/15     WRE      Turkiye Garanti Bankasi A.S.                          Turkey      15,000,000
05/19/15     WRE      Wire Transfer Tuddye Garanti Ba BNP Isanne SARL       Turkey      35,000,000
05127115     WRE      Wire Transfer Turkiye Garanti Ba BNF Isanne. SARL     Turkey      21,300,000
06/11/15     WRE      Wire Transfer to Turkiye Garanti Bankasi A.S.         Turkey         200,000
12/14/15     WRE      Turkiye Garanti Ban /BNF=Jacob Ortell Kingston        Turkey       2,100,000
 12/28/15    WRE      Turkiye Garanti Ban bnf== Jacob Kingston              Turkey       6,900,000

                                Total                                                 $134,005,700




                                                                                                  Exhibit
                                                                                                      B
              Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 17 of 45



REPUlJllll Of TOlll!tV PlllME MlMISTRY                YOUR ONE·STOP-SHOP
            IHVmillEl!I sv,,orn AMD
                 PHIIMOllOH ASIIICY                   IN TURKEY
                                                                                              SBK
                                         inmt.gw.tr                                           HOtCtNO




 Fact She@!
 September 09, 2016


$950M Cash Flow Slated to Arrive in Total Future Investments

                                 Noll Energy Group Inc., us.eased Washakie Renewable Energy
                                   and SBK Holding LLC are Set to Start a $460M Equity Fund


 Prime Ministry rnvestment Agency (ISPAT) has unveiled details of the investment due to arrive In
 Turkey via a deal closed by US-based Washakie Renewable Energy, Noll Energy Group, and ·
 their partner and the investment manager in Turkey, SBK Holding LLC.


 Washakie Renewable Energy and Noll Energy Group operate in Utah and California, USA.
 Noil Energy Group (NEG) has been an active player in industry and commerce in the USA for
 nearly 200 years. NEG manages its highest business stakes today In the form of investments in
 the energy industry.

 NEG operates in trading, storage and supply of all kinds of energy commodities and chemicals. It
 owns the largest recycling and blodiesel refinery in the lntermountain Region in the Western
 United States. Noil Energy's refinery is operated with nanotechnology, and is one of the leading
 facilities of its kind the world over. Hot on the heels of its prominent investments in energy, NEG
 maintains a strong presence in retail fuel distribution with a fuel distribution network that covers
 western US states. WRE Biofuel (bttp://wrebiofue!S.QQm), United Fuel Supply
 (bttp:t1www.ufsu1;mly.com)

  Outside the USA, NEG has a portfolio of commercial real estate investments In Eastern Europe
  along with investments in chemicals and palm oil in Asia.

 NEG set its eyes on Turkey back in 2001. Once their collaboration with SBK Holding Inc. was
 kick~started in 2013, Noll Energy eased to make their first investment. Having started out with real
 estate investments, NEG was soon to channel its efforts toward Mergers and acquisitions (M&A}.
 Total investments made since 2013 in collaboration with and under the management of SBK
 Holding Inc. have reached $500 million.

  Total Investment to Hit the $950M Mark
  NEG has established a new $450 million equity fund for the new Investments It ls poised to flow
  into Turkey until the end of 2016. On top of this equity fund, NEG has established a $500
  million recovery fund to leverage M&A operations in Turkey due to get well underway in 2
  years.
                                                                                                        Exhibit
                                                                                                           C




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              Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 18 of 45



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                PHOMIJIION lSHCY       ' INTtlRKEY
                                                                                             SBK
                                                                                             ~tOkt>l~,o




The initial $450 million equity fund is set to flow cash in the following areas as indicated below.

         •       $200M in Financial Services
         •       $125M in Healthcare
         •       $125M in Tourism




 Kingston Family (Jacob Kingston), based in Utah, USA; Washakie Holding LLC Conglomerate;
 SBK Holdings USA and Noil Holdings have made the following investments in Turkey since
 2013.

 Biofarma ltac; Sanayi ve Ticaret Inc.
 Munir $ahln ilag Sanayi ve Ticaret Inc.
 Betasan Bant Sanayi ve Ticaret Inc.
 Proles Otomotiv Orunleri Sanayl ve Ticaret LLC
 BoOazi9i Cam Sanayi Inc.
 Orosan Klmya Sanayi Inc.
 Uluslararas, Servis ve Lezzet Akademisl LLC.
 Blane Teknoloji Sistemleri Sanayi ve Ticaret Inc.
 Bukombln lnc.
 Bugaraj Inc.
 Jeanbu Inc.
 Autopia Project

         •       The above investments have generated direct employment opportunities for 6,500
                 people.
          •      The total amount invested is $500M.
          •      As a result of these investments, continued business activities of all three business
                 players are estimated to have given rise to a business impact in excess of 1 billlon USO.
         •       Aside from the investments in the above companies, NEG has invested ca. $100 million
                 in real estate.
          •      The total value of investments in .industry and commerce businesses and real estate
                 investments Is $600 million.

 SBK Holding operates in various areas including finance, energy, real estate, mining, industry,
 tourism, technology and logistics.

 One of SBK Holding's main businesses is its subsidiaries in finance. SBK Holding's investment
 banking, asset management and raw material financing services are offered by businesses with a
 leading foothold in the Turkish finance industry.                                       ·




                                                                                                          2
             Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 19 of 45



REPUBUO Of TURX!V l'lllME 1'111lllSJIIY   YOUR ONE·STOP·SHDP
         lll'll:STMElfl Slll'PDIIT l!D
                  PnOMDllO!i m~cv         IN TURKEY
                                                                                          SBK
                                                                                           HOt...otNG

                                             SBK Holding's another
main business is its subsidiaries in the energy sector. Some of its operations in this area are
outside Turkey. It has major investments in the US and Russian energy sectors. Subsidiaries
operating in this sector include companies providing oil, natural gas, biodiesel, LNG production,
trading and storage activities and fuel distribution services. SBK companies' business activities
cover Turkey, Middle East, Russia and the Americas.

SBK Holding has wide~ranging investments and partnerships with industrial companies. On top of
its businesses producing foam rubber, furniture, medicine and medical supplies, it has
subsidiaries involved in the manufacturing of chemicals used in construction, cement, heat
insulation materials and glass. Automotive supply and textile companies manufacturing fabric,
ready wear and leather in their high capacity factories are among SBK Holding's investments.

SBK Holding's technological investments are made in strategic areas. It has companies providing
technological .infrastructure services to banking and security industries as well as production
subsidiaries in the defense sector.

 SBK Holding's mining investments are focused on copper mines in Utah, USA, and are managed
 by a group of companies with invaluable know~how and experience. SBK Holding' businesses will
 add value to the Turkish economy through new investments.

 SBK Investments in logistics are positioned in sea and air transportation. Its top business
 segment, international fuel transportation, is a major investment in this. industry with a fleet of 28
 oil tankers. Additionally, it has subsidiaries operating in air freight.

 In real estate, . SBK Holding has added value to' this business area through its subsidiaries'
 premium projects and continues to explore new investments areas. Real estate projects have
 largely focused on Istanbul and Antalya.

 SBK Holding has investments in hotels and holiday resorts in Turkey's South Coast. Medium~
 scale investment strategies include plans to grow in this sector.




                                                                                                        3
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                                                                                                                          WhatsApp
                                                                                                       [1] 2016-11-13 19:51:39 (UTC}
                                                                                                       Sender: Self {
                                 Participants: Jacob K UFS; (                                          -4611 ), Self (



                                                                                                                                          WhatsApp
                                                                                                       [1} 2016-11-13 19:52:38 (UTC~
                                                                                                       Sender: Self (
                                 Participants: Jacob K UFS. (                                           4611 ), Self {

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                                                                                                       Sender: Self (                                    )
                                 Participants: Jacob K UFS. {                                           4611 }, Self (                                   )




WhatsApp
2016-11-13 19:53:25 (UTC) [1]
Sender: Jacob K UFS. (          4611 )
Participants: Jacob K UFS. (        4611 ), Self ( (

Before 5th?


                                                                                                                           WhatsApp
                                                                                                        [1} 2016-11-1319:53:44 (UTC)
                                                                                                        Sender: Self (




                                                                                                                                                  -
                                 Participants: ,Jacob K UFS. (                                           4611 ), Self {




                                                                                                                            WhatsApp
                                                                                                        [1J 20'16-11-1319:53:53 (UTC)
                                                                                                        Sender: Self (




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                                 Participants: Jacob K UFS. (                                             4611 ), Self (




                                                                                                                           WhatsApp
                                                                                                        [1] 2016-11-13 19:54:28 (UTC)
                                                                                                        Sender: Self (              }
                                 Participants: Jacob K UFS. (                                            -4611 ), Self (            )




WhatsApp
2016-11-1319:54:36 (UTC) [1]
Sender: Jacob K UFS. (          -4611 )
Participants: Jacob K UFS. (         4611 ), Self (

K

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                                                                                                        Sender: Self (
                                  Participants: Jacob K UFS. (                                           4611 ), Self (




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Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 21 of 45



WhatsApp
2016-11-19 20:05:15 (UTC) [1]
Sender: Jacob K UFS. (                       -4611 )
Participants: Jacob K UFS. (                      4611 ), Self (
Let'.s<lo it

WhatsApp
2016-11-20 16:16:52 (UTC) f1J
Sender: Jacob K UFS. {                        4611 )
Participants: Jacob K UFS. (                          4611 ), Self ( (
Good morning.

WhatsApp
2016-11-20 16:17:08 (lJTC) [1J
Sender: Jacob K UFS. (                        4611 )
Participants: Jacob K UFS. (                      4611 ), Self (                                          )
Donde usted?

WhatsApp
2016-11-20 16:18:15 (UTC) [1)
Sender: Jacob K UFS. (                           611)
Participants: Jacob K UFS. (                       4611 ). Self (
You want me to finish JV today?

 WhatsApp
 2016-11-20 16:18:29 {UTC) [11
 Sender: Jacob K UFS. (                        4611 )
 Participants: Jacob K UFS. (                      4611 ), Self (
What's up w soft money?


                                                                                                                                           WhatsApp
                                                                                                                       [1J 2016-11-2.0 16:20:34 {UTC)
                                                                                                                       Sender: Self (               )
                                                 Participants: Jacob K UFS. (                                            4611 ), Self (             )
                       JbrJ 1v1·J~~M{ 'ii'lly>},'·4it·1: : 1,, ,1rn. U·11('1 ) ,r· "/':1,f•· 1i 111 1 )\lf ·t~ · '": '}t -~    t 11 J , ,1   UH· Uh-.i· /11 ii H · (:w,·i''J n
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                                                                                                                       [1] 2016-11-20 16:21:06 (UTC)
                                                                                                                        Sender: Self (
                                                 Participants: Jacob K UFS. {                                            4611 ), Self (
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                                                 Participants: Jacob K UFS. (                                            4611 ), Self (           )




 WhatsApp
 2016-11-20 16:22:44 (UTC) [11
 Sender: Jacob I< UFS. ( ·                    -4611 )
 Participants: Jacob K UFS. (                      4611 ), Self (
 Ok. Pies?
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 22 of 45



                                                                                          WhatsApp
                                                                      [1] 2016-11-20 16:22:55 (UTC)
                                                                       Sender: Self (             >.




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                                      Participants: Jacob K UFS. (       611 ), Self (            )




WhatsApp
2016-11-2016:23:16 (UTC) [1.J
Sender: Jacob K UFS. {                4611 )
Participants: Jacob K UFS. (              4611 ), Self (
Of the bird

                                                                                           WhatsApp
                                                                      ['IJ 2016,11-20 16:24:39 (UTC}
                                                                       Sender: Self (              )
                                       Participants: Jacob K UFS. (      4611 ), Self (            )


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                                                                                          WhatsApp
                                                                      [1] 2016-11-20 16:24:56 (UTC)
                                                                      Sender: Self (
                                       Participants: Jacob K UFS. (    4611 ), Self (




WhatsApp
2016-11-20 16:25:07 (UTC) [1}
Sender: Jacob K UFS. (.               4611 }
Participants: Jacob K UFS. (              4611 ), Self (
Ok

                                                                                          WhatsApp
                                                                      [1} 2016-11-21 00:.52:14 (UTC)
                                                                      Sender: Self (               )
                                       Participants: Jacob K UFS. (    4611 ), Self(               )




WhatsApp
2016-11-21 01: 12:29 (UTC) [1]
Sender: Jacob K UFS. ( .              4611 )
Participants: Jacob K UFS. (              4611 ), Self {
Looks good

WhatsApp
2016-11-21 01:14:24 (UTC) [1]
Sender: Jacob K UFS. (
Participants: Jacob K UFS. (                     , Self(
Thls doesn't show proflt until 2021

                                                                                          WhatsApp
                                                                       [1] 2016-11-21 01 :15:11 (UTC)
                                                                       Sender: Self (                  )
                                       Participants: Jacob K UFS. (     4611 ), Self (                 )
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 23 of 45



WhatsApp
2016-12-02 14:28:39 (UTC) [1]
Sender: Jacob K UFS. (           4611 )
Participants: Jacob K UFS. (               ), Self (
Importing, etc

                                                                                    WhatsApp
                                                                 [1} 2016-12-02 14:29:05 (UTC)
                                                                 Sender: Self (              )
                                  Participants: Jacob K UFS. (    4611 ), Self(              )




WhatsApp
2016-12-02 14:29:12 (UTC) [1J
Sender: Jacob K UFS. (           4611 )
Participants: Jacob K U"FS. (        4611 ), Self (
Any news on bird?


                                                                                    WhatsApp
                                                                 [1] 2016-12-02 14:29:35 (UTC)
                                                                 Sender: Self
                                  Participants: Jacob K UFS. {    4611 ), Self




WhatsApp
2016-12-02 14:.55:29 (UTC) [1}
Sender: Jacob K UFS. (           4611 )
Participants: Jacob K UFS. {         4611 ), Self (
How bad?

                                                                                    WhatsApp
                                                                 [1J 2016-12-02 14:56:26 (UTC)
                                                                 Sender: Self (                )
                                  Participants: Jacob K UFS. (    4611 ). Self (               )




 WhatsApp
 2016-12-02 14:56:44 (UTC) [1]
 Sender: Jacob K UFS. (          4611 )
 Participants: Jacob K UFS. (        4611 }. Self (

He can't or won't?

                                                                                     WhatsApp
                                                                 [1] 2016-12-02 14:57:21 (UTC)
                                                                  Sender: Self (       ·     )
                                  Participants: Jacob K UFS. (     4611 ). Self {            )




 WhatsApp
 2016-12-02 14:57:42 (UTC} £1J
 Sender: Jacob K UFS. (          4611)
 Participants: Jacob K UFS. (       4611 ). Self (

 Does he know why?
    Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 24 of 45



                                                                                                                                                                           WhatsApp
                                                                                                                                                        [1] 2016-12-02 14:59:15 (UTC}
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                                                                     Participants: Jacob K UFS. (                                                         4611 ), Self (
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     111,H, ,1,1( ·idli: w1lhl,,c.•f1,1 C)c,c,c!


    WhatsApp
    2016-12-02 14:59:46 (UTC) [1J
    Sender: Jacob K UFS. (                                         4611 )
    Participants:. Jacob K UFS.. (                                     4611 }, Self (
    Hmm. That's a shame. :/

                                                                                                                                                                            WhatsApp
                                                                                                                                                        [1] 2016-12-02 15:00:38 (UTC)
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                                                                      Participants: Jacob K UFS.. (                                                       4611 ), Self (            )
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                                                                      Participants: Jacob K UFS. ( ·                                                       4611 }, Self (




    WhatsApp
    2016-12-02 16:21:55 (UTC) f1J
    Sender: Jacob K UFS. (                                          4611 )
    Participants: Jacob K UFS. (                                        4611 ). Self (
    Who's that?

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                                                                                                                                                          Sender: Self (
                                                                         Participants: Jacob K UFS. (                                                      4611 ), Self (




    WhatsApp
    2016-12-02 16:22:39 (UTC) [11
    Sender: Jacob K UFS. (                                           4611 )
    Participants: Jacob K Ul=S. (                                        4611 ), Self (
    Why?

                                                                                                                                                                             WhatsApp
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                                                                         Participants: Jacob K UFS. (                                                       4611 }, S.elf (           }




                                                                                           WhatsApp
                                                                  [1J[113J 2016-12-0216:46:57 {UTC)
                                                                        Sender: Self (             )
                                   Participants: Jacob I< UFS.. (        461.1 ), Self (           )
                                                                                               URL:
https://mmi284.whatsapp.net/d/ESQ7FLEOEhs42PVt1YRGJ1hBpYQ/ArCsild90Zay3HMOnXx5nqQZpOjBoZq
                   ·                                                               7Vk04T9mn604c.enc
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 25 of 45



WhatsApp
2017-01-25 02:43:31 (U .•C)",L:tl-,~·-~·. =
Sender: Jacob K UFS. (                  . . ..L,,-..i                                    ,,=,-,,·~·~"m=~,,,~.~a
Participants: Jacob K U                                     .JJ;4,§.L~ ), Self ( 1r~1g1]Ji!ik4.Q,§,g )
Y<:1u have no idea how much I owe you. and how much I appreciate what your doing.

WhatsApp            .
2017-01-25 02:41:53 (U
Sender: Jacob K UFS. (
Participants: Jacob K UF

Boss texted me. Let's Just meet in Houston Thursday night. Or Friday

WhatsApp
2017-01-25 02:42:19 (UTQM[..tL.~-"-,:;'~";,1
~=~t~ct~~~~~~Ja~o~F~u~~~r·rl~1t~k1] ), Self (                                            t~I§5::~[§;~~d)
I want to tell you again you are doing the lords work.




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  ['l)'J\)l:;i l,1t,1 r. : :u;• (, :1,,;, 11,1, i111c i llll 1r, hr, w w<>1 ld1 l\: iP li1,vt, ii 11f' (,I ,,i:r:c/



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                                                            Participants: Jacob K UFS. (                     [ao}):949~fef)'. ~;:~ ~                              )

WhatsApp
2017-01-25 02:55:25 (U
Sender: Jacob K UFS. (
Participants: Jacob K U

What erased? Just Sally or everyone?




                                                            Participants: Jacob K UFS. (,




 WhatsApp
 2017-01-25 02:57:08 (U .G)~. jJ
 ~=~~~~~~~~~Ja~o~F~U~                       .                         .,,~,, }, Self ( ffi:t§L~lmi::1.Q.~jj)

You going to be working a few days? Can we meet in Texas? I'm leaving tomorrow .for Brownsville. I'm.
planning on being in Houston Friday.

 WhatsApp
 2017-01-25 03:00:18 (U       .J,1L.,,=,-·-~·
 Sender: Jacob K UFS. ( i
 Participants: Jacob K UJ:: •          "·- ",,.;:1.§.1:                     ), Self ( t~j:fil~1~.fi~QJ;}ij)
See if you can see any reference to rats in sallys doos
                                                                                                                                                                      Exhibit
                                                                                                                                                                         E
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 26 of 45



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                                                                           Participants:. Jacob K UFS. (                      fifru}]~~~f)'. ~::i ~ fHt~~§dQ1L )
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  [1l'Jb:1,,,, ,i,11 f ,l,lf•>, P,,,r,,.1,1t •i WPl<1i• ln1111,1l (<JJ,1 0111, I ,1:1·" f .Jr,,r ·•
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WhatsApp                                                   ·
2017-01-25 03:09:43 (UT,C)...[l].,,,,~.,...,,.=·~,
Sender: Jacob K UFS. ( lliQJt~~Apj,.11.J,,,,"'·~       !'""""''"'""~""'""""="·~
Participants: Jacob K UFS. ( !tQl1.1l4~~~!lL ), Seit ( rnJJ}l.JJ}Ji:1.Q.§g)
2 for 1?




WhatsApp
2017-01-25 03:13:22 (UT,C,)=,[11.=-····"""'l
Sen?~r: Jac?b K UFS. ( U>ll1t~4:1k®..1,Al,),,,,,~~         li"'"""~"---.·=·······=;:;i
Part1c1pants. Jacob K UFS. { (§QJ)Jl4!l:.!litLll ). Self ( li1J;l. t~Jl!'\-4Q6g )
Yes, seriously.




 WhatsApp
 2017-01-25 03:14:02 (UJ;C)•..[3.1,.....,,•.
 Sender: Jacob K UFS. ( [8,01
 Participants: Jacob K UFS. { ...,
I know. I know who been orchestrating the hatred against ml\l and my family.
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 27 of 45



WhatsApp
2017-01-25 03:15:09 (UT...C),..t1L,-~··--·
Sender: Jacob K UFS. ( [§9J "· _
Participants: Jacob K UFS. ( !!lL,,                                        J ), Self ( f!iiii}j~.§dQ&.if )
The website, etc.




WhatsApp
2017-01-25 03:21:55 (UT..C.)J::1J$.-·,.·=·=·
~=~?c~~~~~~~Sa~o~F~u~~.                                                          ), Self (     l~wI:~~~~Q§!1)
7am. I can have Isaiah get some food




                                                                                                                              WhatsApp
                                                                                                            [11 2017-01-21.Q3;23;2fjff}
                                                                                                '"""'"-'~'""'.Send r: Self ~ . _
                                                                 Participants: Jacob K UFS. ( [aQJ)Jl4Il:4flJf). Self~ §11§).~~_si;5_Q§
   !:'/h,u. /r ,. ; ·J,,11, ii J/-j, (•>(e) /·)/'I' liiw ::/11t %1t0 i )l;g~' {'' 'W' 10/1 /I l,\/// I :::·1,,r,I/ i,l 11.• 'WI,'( ·>lir:w·i1·. :·o, /1111-J:n,;; i!/·•, \',~•/f;j   ii>(·\>
            ti' i; ,r 1f ," ihY , Jt ,{ jt 1~1llf,1l 'J \'I'/ 1l 11 1 ! 1r ,y J (' 1: hf ~V{ lt1} j Jii,i 1 ( lu Vit~J\i',
   t1 '.~ 11(~I ,1                                                                                        l                                     , .



 WhatsApp                                  .
 2017-0i-25 03:23:46 (UT.C)_,[.1.}....._,,-·'l
 Sender: Jacob K UFS. (                     rnJ11J aii1ra~. )....
                                                '.;j        W.":'~'··~·=•m··--~·:;;i
 Particrpants: Jacob K UFS. ( r§.Q.1 ~!L:!l§.:L.G ), Self ( l~J.§lJ.~ft:::jQ§g )
 I'll come over tonight.

 WhatsApp
 2017-01-25 03:23:53 (UtC.).
 Sender: Jacob K UFS. ( rnQ.1
 Participants: Jacob K UFS. (
 Quantos?



                                                                                                                                        [11 2017-01-2
                                                                  Participants: Jacob K UFS. (                         faif{)]jg~\~df)'. ~~:~ ~ ~~~~~
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 28 of 45



WhatsApp
2017-01-25 03:25:24 (U
Sender: Jacob K UFS. ( 1
Participants: Jacob K UF .

What did she say'?




WhatsApp
2017-01-25 03:27:25 (UJ:CJ,,,L1J,..-,...,.~..-~1
~:~?ci~a~~;~Sa~o~F~iJ~~~rficn~1i~~~I] ), Self <                 ~fil.IDiaiE(ti[ij >
And how recent?




WhatsApp
2017-01-25 03:44:54 (UI.CJ.-L1J"'=·-~·~""'"l
Sender: Jacob K UFS. v~Q1~~;;i,.&,)u.,,l               r"""""''"'w.u,,,~,~,.,~
Participants: JacobK U . ( UL1L~.4...:.4itLu ), Self ( l~l§HtQ.ft:,1.Q§.g)
What she say?

 WhatsApp
 2017-01-25 03:44:59 (UT,Ct.[1]._,,,,..~....,..,'l
 Sender: Jacob K UFS. ( rn.OJJ,.l;l&lfJ~al,.,.,.~              r;~·"--'-"'""'"'''~';.I
 Participants: Jacob K UFS. ( [fill.1La1.\:l:.4!1111 ), Self { l~l§L~fill:.lQJlg)
About Sally?

                                                                                                                 WhatsApp
                                                                                         [1] 2017-01-2 ,,,0.3;15!1:.33.. UI   ~

                                            Participants: Jacob K UFS. (        ffii:iifiif~~itfft ~:~ f                      )

 WhatsApp
 2017-01-25 03:51:57 (U
 Sender: Jacob K UFS. (
 Participants: Jacob K U

 Quantos?

 WhatsApp
 2017·01-25 05:49:21 (U .C}...[1 "~"="=
 Sender: Jacob K UFS. (               .      c)-....;;1         W"""'~"="·--·--=m,,,a
 Participants: Jacob KU . ·- ....... .,1.,,,;.1;§1.ll ), Self ( 1.JH§)~f!§.:.4,Q,§g)
 Still on for 11 :OO?
 Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 29 of 45



 WhatsApp
     2017-01-25 14:50:34 (U 1-:)«LiJ._ _,_,----,,
     Sender: Jacob K UFS. (
     Participants: Jacob K U                        .

 \ \ef\ 10\b of 009 fooo w \sa\ah




     WhatsApp
     2017-01-25 14:51 :37 {UT,;Ci.Ji .....~"'"-""@
     ~:~~~~a~~~~Sa~o~F~uV~:                                                              ), Self     (lat~n.a\!~;,4Qft~)
 How was your night w your new boyfriend 1

     WhatsApp
     2017-01-25 14:51:57 (UT,,Ct~[l],.,,,,-·-·i
     Sender: Jacob K UFS. ( le.0.1~~~~ JJ.)~'"'AI                                                       ~=,,··=""rn=~"'"'''"'-i)
     Participants: Jacob K UFS. (.                          ~.Q1JJ!4Jt;4§l.!J ), Self ( ifll§lglJJ;,~Q§,,}
 l'he nigger




                                                                        Participants: Jacob K UFS. (




       /•>ir•' \V•'N'fo1,1!,\·1-IG·1 11· il:1H '?' '1/(•JJI 1:d/11f /!.'·                        ,,w-ri
                                                                                       1,,,111·! w:·i 1           !11 •111 1/ 1r- 1!r !i\11·/ 1, 1 1,/ /hr· J,111:1-··1,1· , ,)1 11 ! 11 • I 1:·1 1(, / ,1 ,,,
 '     iJrn   ('{tll•:•i(ul•1r:,;()J1il1l' \Jt,(v 1 lh~v{ I l1lill( t1. ( l,J l ci: 1 1'{; ( \\ n:' \ ',l('{J\ 1lH' t1'1 \ lJ\/( /,IH• ,J1:J~ i 1\1 Jjl .·: L \11!11
       \:JA l,t,l')t l Lt•Jl 'hli'i, ,t~,/l '11,'l') ('\11t,/1:d1 , 1 I'll lA; \1\1! •HH j(d 111: lJll I Iii t I,
                    .                                       .




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https://mmi734.whatsapp.net/d/UjvjTeG3jA2dDgDELrnciFilyd8/Apjsk3gtM4fYWywTnh3XqDmCKVfYjORR7x
                                                                                ShqXu_YvjR.enc
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Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 30 of 45




WhatsApp
2017-01-2518:10:11 (U
~:~?J~:a~~~:0Sa~o~F~u~                                     ' "" }, Self ( f~i~I:a~~liijif)
I can have him get more. But you need to tell me how much.




           (,1l!k•/l:ti.t r/J.-t")·1!1;,H,r\11:,11vj   11,,t)H(l
                                                       1           1   ·1·rH   lit ',J,r1l:,   1!L'\'(1i1   p   1   iJ1 1/H 1i·   i1,,V,ill1lt   1   <(,il\1   1
                                                                                                                                                                   ',/l'


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WhatsApp
2017-01-2518:35:37 (U .C .,J1,J.,--,"'··-
sender: Jacob K UFS. (                                L=~l .          ~···"=,~~-~.,,,,,.,••, •.~
Participants: Jacob K UF .                      J.!i~.§.l,t ). Self ( 1..f!JJ}L~Jl§::.4.Q§.y )
Nooooo




 WhatsApp
 201?-01-2s 1s:43:oo cui:c_J,~_ c1J...",.-·,,~---·
 Sender: Jacob K UFS. ( [ao1
 Participants: Jacob K UFS. {                      .       11 ), Self { [916) a~B-40q§)
Ouantos
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 31 of 45




 WhatsApp
 2017-01-25 21:42:07 (U ,,Q).,,,t],"""'"''-'"='
 Sender: Jacob K UFS. { ;1.1.?J.t~!ifi.~
 Participants: Jacob K UF
. No GJ today?




                                                                                                      [1] 2017-01-2
                                                  Participants: Jacob K UFS. <           fifrJ1:ra1Ii~'1fff,: ~=~?

 WhatsApp
 2017-01-25 21:47:32 (UT~)           ,,=,.·-·--
 Sen~er: Jacob K UFS. ( K.[Q,                    -· 1,,,,,~         rt"'""""'·"'"'''""''-··"":'!
 Participants: Jacob K UFS. ( •. ,, .. ,. ,,-a,;,1,Ji1.1l ), Self ( !JU2L:a~§:1LQ&~)
What's on her? This rediculous. The gov needs to spend their money on something worth more. Than to
chase these· poor la.dies.




                                                                                                                                    WhatSA[:>p
                                                                                                ·     [11 201!-01-2~.21-·fill:13.t.Ul.}
                                                 Participants: Jacob K UFS. ( ta!ll)Jl;l~:.4JU] ), Self {                  tll~.
                                                                                          ..._..,,..••,,,~,,Sender. Self ( ·   • ... .   ~.
                                                                                                                                   ~,lLQ;:;1,Q_   ~
    Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 32 of 45



                                                                                                                                                                                WhatsApp
                                                                                                                                           [11 2017-01-2.5 22:00:47 (UTC)
                                                                                                                                           Sender: Self (                                       )
                                                                         Participants: Jacob K UFS. {                                           ), Self (                                       )
                           1 1'l1\: 1                     1                       1
     ~"'·v111~   , I1'1\   t 1l     ,Jl,\, 1,1'1..,\'l~'; 1t1..   't ~1v,-~•1·\1\: 1" \\,\~   (J   ,,f,\i {~~ . .,,\\;,\ 111cJ\1 1A,\                           1
                                                                                                                                        \~1\', \,\\\ ~,\;,,, i.• 11\,   1•t•rn\" ,,,   /11\,\       •
'    ::11J\( I 1 VOIJ      (:II


    WhatsApp
    2017-01-25 22:02:37 (UTC) [1}
    Sender: Jacob K UFS. (
    Participants: Jacob K UFS. (                                                       ), Self (

    Nice

    WhatsApp
    2017-01-25 22:04:09 {UTC) [1]
    Sender: Jacob K UFS. (
    Participants: Jacob K UFS. (                                                       ), Self (                                 }

    How long you going to be In sic?

                                                                                                                                                                                 WhatsApp
                                                                                                                                            [1] 2017-01-25 22:06:25 {UTC).
                                                                                                                                            Sender: Self (                                      )
                                                                         Participants: Jacob K UFS. (                                            ), Self (                                      )




                                                                                                                                                                                 WhatsApp
                                                                                                                                            [1] 2017-01-25 22:06:30 (UTC}
                                                                                                                                            Sender: Self (                                      )




                                                                                                                                                                                         -
                                                                         Participants: Jacob K UFS. (                                            ), Self (                                      )




                                                                                                                                                                                 WhatsApp
                                                                                                                                            [1] 2017-01-25 22:07:10 {UTCi
                                                                                                                                            Sender: Self (
                                                                          Participants: Jacob K UFS. {                                           ), Self (




                                                                                                                                                                                  WhatsApp
                                                                                                                                            [1] 2017-01-25 22:07:14 (UTC}
                                                                                                                                             Sender: Self (




                                                                                                                                                                                          -
                                                                          Participants: Jacob K UFS. (                                            ), Self (




                                                                                                                                                                                  WhatsApp
                                                                                                                                            [1J 2017-01-25 22:07:16 (UTC}
                                                                                                                                             Sender: Self (




                                                                                                                                                                                          -
                                                                          Participants: Jacob K UFS. (                                            ), Self (




     WhatsApp
     2017~01-25 22:07:21 {UTC) [tJ
     Sender: Jacob K UFS. (
     Participants: Jacob K UFS. (                                                       ), Self (

    Get me a number. $
 Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 33 of 45



                                                                                           WhatsApp
                                                                       [1] 2017-01-25 22:07:55 (UTC)
                                                                       Sender: Self (              )
                                   Participants: Jacob K UFS. (              ), Self (             )




                                                                                           WhatsApp
                                                                       [1] 2017-01-25 22:18:47 (UTC)
                                                                       Sender: Self (              }
                                   Participants: Jacob K UFS. (              ), Self (           . )




                                                                                         WhatsApp
                                                                [1J[196J 2017-01-25 22:18:59 (UTC}
                                                                      Sender: Self (
                                   Participants: Jacob K UFS. (            ). Self (
         URL: https://mmi682.whatsapp.net/d/XehzS6YJCNnnaZLZkFm1JViJJFY/AiJkxet7PvYv_Xf59GAo-
                                                                   8AG1 g5ai_rjc6HFzSEmlGMO.enc
                                                                                       it.     ~      ~-   •tA\I.., · '_,   \/lli·'
                                                                                        ~~          ~"'""""'hrlittl




                                                                                                      II
                                                                                           WhatsApp
                                                                 [1][197] 2017~01-25 22:19:00 (UTC)
                                                                       Sender: Self (              )
                                    Participants: Jacob K UFS. (             ), Self (             )
                                                                                               URL:
https://mmi276.whatsapp.net/d/SlvxYdxlULdiEDuT_ClnmFiJJFY/As0bw2XN03if62v07RsNmBRuvGkD3T_D


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                                                                                    kye6pfJ17ehU.enc
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                                                                                            WhatsApp
                                                                    [1][198] 2017-01-25 22:19:00 (UTC)
                                                                          Sender: Self (             )
                                    Participants: Jacob K UFS. (               ), Self (             )
                            URL: https://mmi300.whatsapp.net/d/ipz_gFRBSrpZJ8cKECtF61 iJJFc/Akw71<-
                                                      v_PzolnROr3UCiXsvTLDOOtL2vKEZbgrXT-1XS.enc
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   Case 2:18-cr-00365-JNP-BCW Document 9   Filed 08/24/18 Page 34 of 45
••ooo Sprint LTE            -3:18 PM

 <
--------
              Commissioner Gora,i/ it                         (D
                    Today 3:12 PM

                                    You busy??

     I am in a meeting
     till about Qgm
     .Eastern. You all
     done so soon?

                     No we have about -
                     6: more files;.
                     Do you have a
                     number so I C ·on
                   · have JK take care
                   · of your guys?
                                He is asking.
  Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 35 of 45




<
_____   ,._




   I have no clue it's
 . not something I
   do for a living but
   he needs to
   consider that this
   is something that
   is going away and
   these guys
   obviously do it no
 · (1/2)
  questions asked.
  (2/2) ·
  There are 2 or 3
  guys?

                            2 u s left the
   Case 2:18-cr-00365-JNP-BCW Document 9   Filed 08/24/18 Page 36 of 45
eeooo  Sprint LTE            3:18 PM

 (            Commissjoner Gordan                              CD
                                                       ·---···-

     is going away and
     these guys
     obviously do it· no
     (1/2)
     questions asked.
     (2/2)
     There are 2 or 3
     guys? ·

                             2 guys left the
                             other 2 i.n
                             Houston.

     Ok let me ask him
     directly. I will let
     you know.
 Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 37 of 45



                                                                                           WhatsApp
                                                                  [1][199] 2017-01-25 22:24:34 (UTC)
                                                                        Sender: Self (             )
                                     Participants: Jacob K UFS. (            ), Self (             )
                                                                                                URL:
https://mmi723.whatsapp.net/d/Fj5LU23GveUDarzZhm5GH1iJJaM/Apeqg36Q3vmTdAyzv54KUjbiJ7SQziGm
                                                                                   40hBc2kQi1 IM.enc
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                                                                                          . . . . (I,                    ...



                                                                                             WhatsApp
                                                                         [1} 2017-01-25 22:24:53 (UTC)
                                                                         Sender: Self {              )
                                          Participants: Jacob K UFS. (         ), Self (             )




   WhatsApp           .
   2017-01-25 22:25:09 {UTC) [1J
   Sender: Jacob K UFS. (
   Participants: Jacob K UFS. (                    ), Self (
  Nope.

                                                                                            WhatsApp
                                                                         [1] 2017-01-25 22:25:56 (UTC)
                                                                         Sender: Self {              )




                                                                                                           ••
                                          Participants: Jacob K UFS. (         ), Self (             )




   WhatsApp
   2017-01-25 22:26:48 (UTC) [1]
   Sender: Jacob K UFS. (
   Participants: Jacob K UFS. (                    ), Self (
   No, I can't say no


                                                                                             WhatsAp1
                                                                         [1] 2017-01-25 22:26:56 (UTC
                                                                         Sender: Self (




                                                                                                                       -
                                          Participants: Jacob K UFS. (         }, Self {




   WhatsApp             ·
   2017-01-25 22:27:40 (UTC) [1]
   Sender: Jacob K UFS. (
   Participants: Jacob K UFS. (                    ), Self {
   I'll have Sally cut a. cnecl< In her name.

   WhatsApp
   2017-01-25 22:27:44 (UTC) f1J
   Sender: Jacob K UFS. (
   Participants: Jacob K UFS. (                    ), Self (
 •••oo Sprint
    Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 38 of 45
                   LTE                                                                                                .      , __   ,.,      .'




              Commissfoner~o;d;~·.·· .· · +:;CT)
 <
- - ~ I V I . 11 I V u v 1 , 111111
               '                       '




    directly. I will let
    you know.

     you know me.
     (2/2)
     SG I.was
     wondering I have
     not asked Mr K
     will he be ok
     helping us with
     the church you
     know how we
     give so much for ..
     our kids
     fundraisers. I feel
     bad asking (1/2) ·
                                           ,,,,, ~<~" ~.' '··- ~., .... ,, ... ' -~ ..,. ,,,h,,, ~·                                                   ,,
                                                                                                      .. ~~. '""- ·"·"'" '"' ~·"' '~"'·"-"''·. "'"" - •
  Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 39 of 45




  For the church


                                                                                               WhatsApp
                                                                       [1] 2017-01-25 22:40:05 (UTC)
                                                                       Sender: Self (                           )
                                    Participants: Jacob K UFS. (            ), Self (                           )




  WhatsApp
  2017-01-2522:41:04 (UTC) [1J
  Sender: Jacob K UFS. (
  Participants: Jacob K UFS. (               ), Self(

  Ok.

                                                                                                WhatsApp
                                                                   [1J[200J 2017-01-25 22:51:54 (IJTC}
                                                                        Sender: Self (    }
                                    Participants: Jacob K UFS. (             }. Self (    )
                                                                                       URL:
https://mmf403.whatsapp.netfd/fMVfkkS9Z6arC8mUQFCRP1iJLAw/Ah5m82ZcHf534Estll30tBaw6XXNWS3S
                                                                         1uzhXHxQXQBb.enc

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   WhatsApp
   201.7-01-25 22:52:44 (UTC) [1J
   Sender: Jacob K UFS. (
   Participants: Jacob K Ul=S. (             ), Self (             )
  How many are there?

                                                                                                 WhatsApp
                                                                        [11 2017-01-25 22:53:04 (UTC)
                                                                        Sender: Self (                              )
                                    Participants: Jacob K UFS. (             ), Self (                              )




                                                                                                 WhatsApp
                                                                        [1] 2017-01-25 23:02:22 (UTC}
                                                                       . Sender: Self (                             )
                                    Participants: Jacob K UFS. (              ), Self (                             )




   WhatsApp
   2017-01-25 23:02:44 (UTC) [1]
   Sender: Jacob K UFS. (
   Participants: Jacob K UFS. (              ), Self (

   Ya.
     Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 40 of 45
••ooo Sprint LTE               3:51 PM                           ~ @                f   *- )• f
 (             Commissioner Gordan                                                        CD
         fundraisers. I feel
         bad asking (1/2)

         Have him give
         them 10 each he
         doesn't want to
         give me a number
         we know we are
         going to need
         them in the future
         we all know that
         this is just a part
         of all (1/2)    ·
         the crap we are .
         going to have to
         clean up. (2/2)
     -   -
     _..2Qa
                . •. ..,.. //            t
                                        II   ·--·-,"'"
                                                '        ••   • • •!.   ·~
                                                                        i,   ,,"   ·"
                                                                                         iJl!L'\
                                                                                           A~
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Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 41 of 45



                                                                                                                                                   WhatsApp
                                                                                                               [1] 2017-01-26 04:05:53 (UTC)
                                                                                                                Sender: Self (                                      )_
                                             Participants: Jacob K UFS. (                                            ), Self {                                      )




                                                                                                                                                    WhatsApp
                                                                                                               [1} 2017-01-26 04:08:05 (UTC)
                                                                                                                Sender: Self (                                       )
                                             Participants: Jacob K UFS. (                                            ), Self (                                       )

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                                                                                                                                                    WhatsApp
                                                                                                                [1J 2017-01-26 04:08:36 (UTC}
                                                                                                                Sender: Self (                                       )
                                             Participants: Jacob K UFS. (                                            ), Self (                                       )




                                                                                                                                                    WhatsApp
                                                                                                                [1] 2017-01-26 04:24:50 (UTC)
                                                                                                                Sender: Self (                                       )
                                              Participants: Jacob K UFS. (                                           ), Self (                                       )




                                                                                                                                                    WhatsApp
                                                                                                                [1] 2017-01-26 04:41:16 (IJTC)
                                                                                                                 Sender: Self (                                      )
                                              Participants: Jacob K UFS. (                                            ), Self {                                      )




WhatsApp
2017-01-26 05:15:15 (UTC) f1J
Sender: Jacob K UFS. (
 Participants: Jacob K UFS. (                                 ). Self (

Ya

 WhatsApp
 2017-01-26 05:46:37 (UTC) [1]
 Sender: Jacob K UFS. (
 Participants: Jacob K UFS. ( ·                               ), Self {

Need to know when I need to be in Houston.

 WhatsApp
 2017-01-26 05:47:13 (UTC) [1]
 Sender: Jacob K UFS. ( ·
 Participants: Jacob K UFS. (                                 ), Self (

Are we setup ·for meetlng for Friday?

                                                                                                                                                 . WhatsApp
                                                                                                                 [11 2017-01-26 15:06:37 (UTC}
                                                                                                                 Sender: Self (                            ·             )
                                              Participants: Jacob K UFS. (                                            ), Self (                                          )
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 42 of 45



                                                                                   WhatsApp
                                                                [1] 2017-01-26 15:08:25 (UTC)
                                                                 Sender: Self (             )
                                 Participants: Jacob K UFS. (         ), Self (             )




WhatsApp
2017-01-2615:40:11 (UTC) [1J
Sender: Jacob K UFS. (
Participants: Jacob K UFS. (              ). Self ( .
I thought you said only 2

WhatsApp
2017-01-26 15:40:21 (tJTC) [1}
Sender: Jacob K UFS. (
Participants: Jacob K UFS. {              }. Self {
ca wants to talk to you
WhatsApp
2017-01-2615:41:12 (UTC) [1]
Sender: Jacob K UFS. (
Participants: Jacob K UFS. (              ), Self {
Group Event - Started

                                                                                   WhatsApp
                                                                [1) 2017-01-26 15:44:13 (UTC)
                                                                Sender: Self (              )
                                 Participants: Jacob K UFS. (         ), Self (             }




                                                                                     WhatsApp
                                                                ['I} 2017-01-2.6 15:44:42 (UTC)
                                                                Sender: Self (                )
                                 Participants: Jacob K UFS. (           ), Self (             )




 WhatsApp
 2017-01-2615:44:48 (UTC) [1]
 Sender: Jacob K UFS. (
 Participants: Jacob K UFS. (             ), Self (
Yes


                                                                                    WhatsApp
                                                                [1] 2017-01-26 15:44:54 (UTC}
                                                                 Sender: Self (
                                 Participants: Jacob K UFS. (          ), Self (




 WhatsApp
 2017-01-26 15:45:04 (UTC) [1]
 Sender: Jacob K UFS. ( .
 Participants: Jacob K UFS. (              ), Self (

 He has both
Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 43 of 45
                   Case 2:18-cr-00365-JNP-BCW Document 9 Filed 08/24/18 Page 44 of 45

                                                 ISTANBUL OHA)   14.11.2017-12:33, Last Updated:14.11.2017 • 12:35


                                          US investment giant took off for
                                                     Turkey




                          In September, President Erdogan met with US major investment company
                          Washakie Renewable Energy (WRE) LLC. Chairman Jacob Ortell Kingston held a
                          series of talks last week in Ankara and Istanbul. Kingston met with many top
                          names in Ankara and met with DEIK President Nail Olpak this evening. During
                          the meeting, the company has learned that talk of US plans to make new
                          Investments In Turkey.

                           SBK Holding investments in Turkey collaborating with WRE, are preparing to take steps to create
                           new investment plans. Central Utah, the company's president Jacob Ortelli Kingston, with President
                           Tayyip Emogan during a meeting in the United States, shared the details of their investment plans tor
                           Turkey.

                           NEW INVESTMENT SPEAKEO

                           Kingston, over 2 months before the meeting as an expression of their commitment to sharing their
                           investment plans in the US, he said at the meeting came to Turkey. Klngston, who made a series of
                           investment talks in Ankara last week , met with Q.!;!K President Nail OIQak on the evening of
                           November 13th • During the meeting more than an hour, we were told wrea discussed plans for new
                           investments In Turkey. It was expressed that the learned opinion that the mutual solidarity messages
                           were given passed in a sincere air. The meeting, the Chairman of OEIK Olpak and WRE as well as
                           Kingston's SBK Holding Board Chairman Sezgin Korkmaz Baran and wrea which are Investments In
                           Turkey Mega Asset Management Inc. General Manager Qaglar Sendil also attended.




                                                                                                      m
                           INVESTMENT DETERMINATIONS
                           SBK Holding Chairman Korkmaz, who announced that they have signed a new investment
                           cooperation agreement with WRE before the end of 2017, noted·"··'-" ··--·----· '-   '· - •• -" --·······-··                     ···-·· ·1
                                      .


~ - - - - - - - . - . . t h e factories and facilities they plan to buy with Kingston.            I
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                                                                                                        Be aware of YQl.lr last-minute
                                                                                                                                  by·
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        Exhibit                                                                                   l.. _. . . . ___   allowing notifications   . .. .. __ .:.R ----·   ·j
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   PAYMENTS IN THE LAST DOWNTOWN
   Korkmaz stated that the amount of the last purchases they have made is 185 million dollars and thus
   the total investment amounts are close to one billion dollars. Korkmaz said that w'rth the latest
   investments, 640 people wlll be added to the holdlng company. Said detailed descriptions of the
   new purohases Korkmaz transfer will do in the coming days, "Investor our partner believe that Turkey
   and the future of this country. Oogdur conducted interviews with the President in accelerating this
   process. We also our worlc with determination to leave idle and unproductive any area of the
   economy Turkey we are growing. "
